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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS



UNITED STATES OF AMERICA,               )
                                        )
v.                                      )
                                        )
CEDRIC CROMWELL, and                    )    Criminal No. 20-10271-DPW
DAVID DEQUATTRO,                        )
                                        )
                   Defendants.          )


                   SCHEDULING AND PROCEDURAL ORDER
                             August 16, 2021

      A trial judge has two fundamental responsibilities: to take all reasonable

steps to ensure the safety of those in trial-related spaces within the courthouse

and to take all reasonable steps to ensure the integrity of the trial process

itself. After careful consideration of the current status of public health

considerations in light of the apparent resurgence of Covid infections under

ongoing pandemic conditions facing the jury pool from which a jury panel for

this case must be selected, I have determined that it would be improvident to

undertake trial on the aggressive schedule previously established.

      This decision is reluctantly made in an effort to meet my responsibilities

to ensure the safety of all trial participants, to avoid stress on the jury selection

process for this district where multiple cases in which defendants — unlike the

defendants now before me — are in custody awaiting trial before a number of

my colleagues, and following preliminary review of pretrial filings by the parties

last week that make clear further intensive pre-trial proceedings, including the

likelihood of evidence hearings, will be required. Such further pre-trial
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proceedings include resolution of sensitive matters necessary to guide the

parties’ respective presentations and to mitigate the potential for collaterally

affecting fair trial rights of the parties. These factors, among others, have now

convinced me that the current trial schedule would be imprudent.

      I must emphasize that the parties have worked with exceptional diligence

and commendable professionalism to frame the current aggressive schedule in

order to consider commencing presenting the case to a jury venire beginning

the week before Labor Day. Nevertheless, a clear-eyed evaluation of the

multiple uncertainties the current public health and pretrial preparation

demands of this case present have caused me on full reflection to conclude that

commencement of the trial on that basis would not safely and fairly

accommodate all the various legitimate interests that trial scheduling must

balance and serve.

      Consequently, while pretrial proceedings will continue on the current

schedule established by Final Order, ECF # 93, on May 4, 2021, with further

pretrial hearings as previously scheduled on August 19 and August 30 and

additional pretrial proceedings — including likely evidentiary hearings —

anticipated during the period previously set for the actual trial, the

commencement of actual trial of this case is now continued.

      While recognizing that various competing commitments of the parties

have previously been reported that suggest dates later in the fall to undertake a

trial not constrained by the uncertainties of current circumstances will prove

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unavailable, I nevertheless commit to continue to give this case precedence on

the trial list for my session, and offer to provide the parties with a trial that

could commence in October, November or December — developing

circumstances permitting — should the parties’ several other trial

commitments during those months no longer prove impediments. After

consultation with my colleagues, however, I must make clear that the potential

for a new trial date in this case should not be presented to any other judges as

grounds for vacating that judge’s pre-set trial dates involving counsel before me

in this case. Based upon previous discussions with the parties about

potential trial dates and an assessment of future public health concerns, it

appears at this point that the earliest unencumbered trial commencement date

for this case is likely to be on Tuesday, January 11, 2022.

      Consequently, pending further order of this court, the trial in this case

on the charges of the initial indictment is now continued to begin with jury

selection in Courtroom 1 the week of January 10, 2022. The trial will proceed

in accordance with my previous allowance of the defendants’ motion to sever,

which will stand as applicable to any continued trial date.




                                              /s/ Douglas P. Woodlock____
                                              DOUGLAS P. WOODLOCK
                                              UNITED STATES DISTRICT JUDGE




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